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 8                          United States District Court
 9                          Central District of California
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11   AMY FRIEDMAN and JUDI MILLER,                  Case No. 2:14-cv-06009-ODW(AGRx)
12   on behalf of themselves and all others
13   similarly situated,                            CLASS CERTIFICATION
14                         Plaintiffs,              SCHEDULE
15          v.
16   GUTHY-RENKER LLC,
17                         Defendant.
18          In the Joint Rule 26(f) Report, the parties propose different timelines regarding
19   expert disclosures and responsive briefing for the forthcoming class certification
20   motion. (ECF No. 51.) “District courts have broad discretion to control the class
21   certification process, and ‘[w]hether or not discovery will be permitted . . . lies within
22   the sound discretion of the trial court.’” Vinole v. Countrywide Home Loans, Inc., 571
23   F.3d 935, 942 (9th Cir. 2009) (quoting Kamm v. Cal. City Dev. Co., 509 F.2d 205, 209
24   (9th Cir. 1975)). In light of the scientific and technical nature of this matter, the Court
25   is not adverse to a more robust briefing and discovery schedule. The scheduling
26   framework proposed by Defendant appears the most reasonable.
27          Accordingly, the Court hereby sets the following deadlines for the class
28   certification stage of this litigation:
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 1        June 17, 2015:     Deadline to file motion for class certification
 2        June 17, 2015:     Plaintiffs’ class certification expert disclosures
 3        July 8, 2015:      Deadline for deposition of Plaintiffs’ expert
 4        July 17, 2015:     Deadline for disclosure of Defendant’s experts
 5        August 8, 2015:    Deadline for deposition of Defendant’s experts
 6        August 10, 2015: Deadline to file opposition to class certification
 7        August 10, 2015: Deadline for Defendant to file Daubert challenges
 8        August 17, 2015: Deadline to file reply
 9        August 17, 2015: Deadline for Plaintiffs to file Daubert challenges
10        August 31, 2015: Hearing at 1:30 p.m.
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12        IT IS SO ORDERED.
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14        April 6, 2015
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16                              ____________________________________
17                                       OTIS D. WRIGHT, II
                                 UNITED STATES DISTRICT JUDGE
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